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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES — GENERAL

Case No. SACV 21-01354-JLS (JDEx) Date October 27, 2021

 

 

Title Simone Rachel Stivi v. Geico Casualty Company et al

 

Present: The Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

 

 

 

Melissa Kunig None Reported
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION

Pursuant to Plaintiff's request, this action is hereby dismissed.

 

Initials of Deputy Clerk mku

 

 

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